            CASE 0:20-cr-00078-DSD-DTS Doc. 1-1 Filed 01/17/20 Page 1 of 4



       I
                                                                 ?O   -r^nj-2t       DTS
STATE OF MINNESOTA )
                                   )           SS.    AFFIDAVIT OF MATTHEW PARKER
COLINTY         OFtrt'rrdSEY
                  tl               )
              FVn^{'fi.4
       I, MATTHEW PARKER, being duly sworn, depose and state              as   follows:
       ,
                                         INTRODUCTION

           1.     I   am a Special Agent of the Federal Bureau of Investigation ("FBI") and

have been so employed in this capacity for 20 years.        I am currently   assigned to the FBI

Twin Cities Safe Streets Violent Gang Task Force in Minneapolis, Minnesota. As                     a


Special Agent         of the FBI on this task force, my duties and responsibilities        include

conducting criminal investigations of individuals and entities for possible violations of

Federailaws, including those laws found in Title 18 and Title2l,United States Code.

       2.         I   am an investigator or law enforcement officer of the United States within

the mebning of 18 U.S.C. Section 2510, (7);that is, an officer of the United States who is

empowered by law           to conduct investigations of and to make arrests for narcotics      and

firearms offenses.

       3.         This Affidavit is submitted in support of a criminal complaint charging

Jeffrey,   L.   Rewey. date    of birth XXIXX/1971, with being a felon in       possession    of   a


firearm in violation of Title 18, U.S.C., $ 922(9)(1) and with possession with the intent to

distribute methamphetamine in violation of Title 21, U.S.C., $ 841.

       4.         The facts and information contained in this Affidavit are based upon my

own investigation and observations of other agents and law enforcement officers

involved in the investigation. This Affidavit contains information necessary to support


                                                                                          $CAru[$HD
                                                                                           JAN 17 2020
                                                                                      U.S. DISTRICT OOURI MPLS
         CASE 0:20-cr-00078-DSD-DTS Doc. 1-1 Filed 01/17/20 Page 2 of 4




probable cause for the attached Complaint.     It is not intended to include   each and every

fact and matter observed by me or known to the Government.

       5.        Jeffrey Rewey has six felony convictions in the State of Minnesota. As

such, he is ineligible to possess a firearm under federal   law. The felonies include   at least

two convictions for Criminal Sexual Conduct (1990, 1992), two convictions for felon in

possession of a firearm (2008 and2014), and 5ft degree narcotics possession (2012).

       6.        On07llll20l9,law   enforcement obtained a Ramsey County search warrant

for Rewey's person, residence at XXX Magnolia Ave. West #X, St. Paul, MN and his

vehicld. Rewey was standing outside the residence by the street when law enforcement

arrived on scene. He was approached by law enforcement and searched. Law

enforcement found a little over one gram of a substance that field tested positive for

methamphetamine on Rewey's person. Entry was then made into Rewey's residence.

       7.        XXX Magnolia Ave. West #X is a one room efficiency apartment. Inside

the front door of the apartment, law enforcement located a backpack. Inside the

backpack, in a plastic container, was approximately 257 grams of a substance that field

tested positive for methamphetamine. Another approximately        2 grams of a substance that

field tested positive for methamphetamine was found in a container located on the

kitchen table.

       8.        Other items found in the apartment included an eviction letter to Jeffrey

Rewey, Rewey's wallet, two digital scales typically used for measuring amounts of

narcotics, a stun gun, packaging typically used for narcotics and U.S. cuffency in the

amount of 53.922.
        CASE 0:20-cr-00078-DSD-DTS Doc. 1-1 Filed 01/17/20 Page 3 of 4




             In the same backpack as the 257 grams of methamphetamine,                   law

enforcement located two handguns: a loaded Springfield XD .45 caliber handgun bearing

serial number US604791 and       a loaded Ruger 380 handgun bearing serial number
3779482.

       10.   Rewey was arrested and brought to the Ramsey County Law Enforcement

Center (LEC) to be booked into the   jail. At the LEC, pursuant to a warrant issued by a
Ramsey County judge, law enforcement took a sample of Rewey's         DNA.    The sample   of

Rewey's DNA was sent to the BCA Laboratory along with DNA swabs taken from the

two hahdguns. The BCA identified DNA profiles on the Springfield .45 handgun. The

BCA Laboratory reports states   as to the swabs taken   from the Springfield .45, there was a

"Mixture of four or more individuals. Major male DNA profile matches Jeffrey Leonard

Rewey,. Major male DNA profile would not be expected to occur mbre than once among

unrelated individuals in the world population". Testing of the swabs from the Ruger

handgun have not yet been completed by the BCA.

       11.   During interview at the LEC,'Rewey admitted to living at the Magnolia

residence.

       12.   Rewey's vehicle was searched pursuant           to a Ramsey County       search

warrant. No items were seized from the vehicle.

      '13.   An expert at ATF informed your Affiant preliminarily that neither of the

euns listed above were manufactured in Minnesota.
              CASE 0:20-cr-00078-DSD-DTS Doc. 1-1 Filed 01/17/20 Page 4 of 4

         i



         ,14.         Based on the above stated facts, your Affiant believes probable cause exists

that Jeffrey L. Rewey has violated Title 18, U.S.C., $ 922(gX1) and has violated Title 21,

u.s.c.       $ 841.

         Further your Affiant sayeth not.




                                                 Matthew Parker
                                                 Special Agent, Federal Bureau of Investigation



Swornland subscribed to before me
this Plday of January 2020.




                                                    e Honorable
                                                 LINITED STATES MAGIS                 JUDGE




                                                    4
